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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 B.B., individually and on behalf of all           )
 others similarly situated,                        )
                                                   )
                Plaintiff,                         )
                                                   )    Case No:
        v.                                         )
                                                   )
                                                   )
                                                   )
 APRIA HEALTHCARE GROUP, LLC,                      )
                                                   )
                                                   )
                Defendant.                         )

                      CLASS ACTION COMPLAINT FOR DAMAGES
                           AND DEMAND FOR JURY TRIAL

       COMES NOW (“Plaintiff”), individually and on behalf of all citizens who are similarly

situated for her Class Action Complaint for Damages against Defendant Apria Healthcare Group,

LLC (“Apria”) respectfully states and alleges as follows:

                                   NATURE OF THE CASE

       1.      This is a class action brought by Plaintiff, individually and on behalf of all citizens

who are similarly situated (i.e., the Class Members), seeking to redress Defendant’s willful and

reckless violations of their privacy rights. Plaintiff and the other Class Members are customers of

Defendant Apria, a health insurance provider, who entrusted their Protected Health Information

(“PHI”) and Personally Identifiable Information (“PII”) to Defendant.

       2.      On or about April 5, 2019 through May 7, 2019 and August 27, 2021 through

October 10, 2021, an unauthorized third party or person accessed and downloaded Plaintiff’s and

the Class Members’ PHI and PII. Defendant Apria has an independent, non-delegable duty to its
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customers to safeguard their PHI and PII and are responsible for the wrongful disclosure of

Plaintiff’s and the Class Members’ PHI and PII.

       3.      This action pertains to Defendant’s unauthorized disclosure of the Plaintiff’s PHI

and PII that occurred between on or around April 5, 2019 through May 7, 2019 and August 27,

2021 through October 10, 2021 (the “Breach”).

       4.      Defendant disclosed Plaintiff’s and the other Class Members’ PHI and PII to

unauthorized persons as a direct and/or proximate result of Defendant’s failure to safeguard and

protect their PHI and PII.

       5.      The wrongfully disclosed PHI and PII included, inter alia, Plaintiff’s and the other

Class Members’ name, date of birth, phone numbers, medical history and information, and medical

device descriptions.

       6.      Defendant flagrantly disregarded Plaintiff’s and the other Class Members’ privacy

and property rights by intentionally, willfully and recklessly failing to take the necessary

precautions required to safeguard and protect Plaintiff’s and the other Class Members’ PHI and

PII from unauthorized disclosure. Plaintiff’s and the other Class Members’ PHI and PII was

improperly handled, inadequately protected, readily able to be copied by anyone with nefarious

intent and not kept in accordance with basic security protocols. Defendant’s obtaining of the

information and sharing of same also represent a flagrant disregard of Plaintiff’s and the other

Class Members’ rights, both as to privacy and property.

       7.      Plaintiff and the other Class Members have standing to bring this action because as

a direct and/or proximate result of Defendant’s wrongful actions and/or inaction and the resulting

Breach, Plaintiff and the other Class Members have incurred (and will continue to incur) damages

in the form of, inter alia, (i) loss of privacy, (ii) identity theft, (iii) medical and pharmaceutical



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fraud, (iv) loss of medical expenses, and/or (v) the additional damages set forth in detail below,

which are incorporated herein by reference.

        8.      Defendant’s wrongful actions and/or inaction and the resulting Breach have also

placed Plaintiff and the other Class Members at an imminent, immediate and continuing increased

risk of identity theft, identity fraud and medical fraud. Indeed, Javelin Strategy & Research

(“Javelin”), a leading provider of quantitative and qualitative research, released its 2012 Identity

Fraud Report (“the Javelin Report”), quantifying the impact of Breaches. According to the Javelin

Report, individuals whose PHI and PII is subject to a reported Breach—such as the Breach at issue

here—are approximately 9.5 times more likely than the general public to suffer identity fraud

and/or identity theft. Moreover, there is a high likelihood that significant identity fraud and/or

identity theft has not yet been discovered or reported, and a high probability that criminals who

may now possess Plaintiff’s and the other Class Members’ PHI and PII and not yet used the

information will do so at a later date or re-sell it.

        9.      Plaintiff and the Class members have also suffered and are entitled to damages

for the lost benefit of their bargain with Defendant. Plaintiff and members of the Class paid

Defendant for their services including the protection of their PHI and PII. The lost benefit of

the bargain is measured by the difference between the value of what Plaintiff and the members

of the Class should have received when they paid for their services, and the value of what they

actually did receive; services without adequate privacy safeguards. Plaintiff and members of the

Class have been harmed in that they (1) paid more for privacy and confidentiality than they

otherwise would have, and (2) paid for privacy protections they did not receive. In that respect,

Plaintiff and the members of the Class have not received the benefit of the bargain and have

suffered an ascertainable loss.



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        10.     Additionally, because of Defendant’s conduct, Plaintiff and members of the

Classes have been harmed in that Defendant has breached its common law fiduciary duty of

confidentiality owed to Plaintiff and member of the Classes.

        11.     Accordingly, Plaintiff and the other Classes seek redress against Defendant for

breach of implied contract, outrageous conduct, common law negligence, invasion of privacy of

public disclosure of private facts, negligent training and supervision, negligence per se, and

breach of fiduciary duty of confidentiality.

        12.     Plaintiff, individually and on behalf of the other Classes, seeks all (i) actual

damages, economic damages, and/or nominal damages, (ii) injunctive relief, and (iii) attorneys’

fees, litigation expenses, and costs.

                                  JURISDICTION AND VENUE

        13.        This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act (CAFA), 28 U.S.C. § 1332(d) because this is a class action involving more than 100

class members, the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and

Plaintiffs and members of the Class are citizens of states that differ from at least one Defendant,

including Plaintiff BB..

        14.        This Court has personal jurisdiction over the Defendant because Defendant has

its principal place of business within this District.

        15.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2) because

Defendant’s headquarters is in this District, and it conducts much of its business throughout this

District.

                                              PARTIES

        16.     Plaintiff B.B. is an adult residing in Blue Springs, Jackson County, Missouri.



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       17.     Defendant Apria Healthcare LLC is, upon information and belief, a Delaware

corporation with offices all throughout the country with its principal place of business at 7353

Company Drive, Indianapolis, IN 46237.

                                      BACKGROUND FACTS

       18.     Certain allegations are made upon information and belief.

       19.     Defendant Apria is a national healthcare company pursuant to state and federal law,

providing healthcare and medical services to the general public, operating at 120 Monument

Circle, Indianapolis, IN 46204.

       20.     As a part of its business operations, Defendant collect and maintain PHI and PII of

their customers.

       21.     Plaintiff and the Class Members are and/or were customers of Defendant and, as a

result, provided their PHI and PII to Defendant.

       22.     Defendant is required to maintain the strictest privacy and confidentiality of

Plaintiff and the proposed Classes’ PHI and PII.

       23.     Defendant        Apria    posts         its   privacy   practices    online,     at

https://www.apria.com/privacy-policy.

       24.     When entrusting their PHI and PII to Defendant, Plaintiff and Class Members relied

upon Defendant to adhere to its duties and obligations regarding privacy and confidentiality and

to adhere to its privacy practices.

       25.     On or about June 6, 2023, Defendant Apria sent a letter to Plaintiff and the Class

Members stating that a malicious actor(s) accessed or acquired the PHI and PII of customers of

Defendant Apria.




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       26.     The letter from Apria stated that the personal information accessed or acquired by

the malicious actor(s) included Plaintiff’s and the Class Members’ name, phone numbers, date of

birth, medical history, medical information, and device descriptions.

       27.     Recognizing the possibility of identity theft to the Plaintiff and the Class Members,

both present and future, Apria offered credit monitoring through Kroll Monitoring.

       28.     Defendant has made a substantial profit off of the unauthorized use and disclosure

of Plaintiff’s and the Class Members’ PHI and PII.

       29.     The disclosure of the PHI and PII at issue was a result of the Defendant’s inadequate

safety and security protocols governing PHI and PII and its intent to profit off the use and

disclosure of Plaintiff’s and the Class Members’ PHI and PII.

       30.     Upon information and belief, the Breach affected over a million patients.

       31.     As a direct and/or proximate result of Defendant’s failure to properly safeguard and

protect the PHI and PII of its patients, Plaintiff’s and the other Class Members’ PHI and PII was

stolen, compromised and wrongfully disseminated without authorization.

       32.     Defendant had a duty to its customers to protect them from wrongful disclosures.

       33.     As businesses offering health insurance services, Defendant is required to train and

supervise its employees and agents regarding the policies and procedures as well as the State and

Federal laws for safeguarding patient information.

       34.     Defendant Apria is a covered entity pursuant to the Health Insurance Portability

and Accountability Act (“HIPAA”). See 45 C.F.R. § 160.102. Defendant must therefore comply

with the HIPAA Privacy Rule and Security Rule. See 45 C.F.R. Part 160 and Part 164, Subparts A

through E.




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       35.     Defendant Apria is a covered entity pursuant to the Health Information Technology

Act (“HITECH”)1. See 42 U.S.C. §17921, 45 C.F.R. § 160.103.

       36.     The HIPAA and HITECH rules work in conjunction with the already established

laws of privacy in Indiana. HIPAA and HITECH do not recognize an individual right of claim for

violation but provide the guidelines for the standard of procedure dictating how patient medical

information should be kept private.

       37.     The HIPAA and HITECH rules work in conjunction with the already established

laws of privacy in Indiana. HIPAA and HITECH do not recognize an individual right of claim for

violation but provide the guidelines for the standard of procedure dictating how patient medical

information should be kept private.

       38.     HIPAA’s Privacy Rule, otherwise known as “Standards for Privacy of Individually

Identifiable Health Information,” establishes national standards for the protection of health

information.

       39.     HIPAA’s Security Rule, otherwise known as “Security Standards for the Protection

of Electronic Protected Health Information,” establishes national security standards for the

protection of health information that is held or transferred in electronic form. See 42 C.F.R. §§

164.302-164.318.

       40.     HIPAA limits the permissible uses of “protected health information” and prohibits

the unauthorized disclosure of “protected health information.” 45 C.F.R. § 164.502. HIPAA

requires that covered entities implement appropriate administrative, technical, and physical

safeguards for this information and requires that covered entities reasonably safeguard protected

health information from any intentional or unintentional use or disclosure that is in violation of the


1
  HIPAA and HITECH work in tandem to provide guidelines and rules for maintaining protected health
information. HITECH references and incorporates HIPAA.
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standards, implementation specifications or other requirements of this subpart. See 45 C.F.R. §

164.530(c).

          41.    HIPAA requires a covered entity or business associate to have and apply

appropriate sanctions against members of its workforce who fail to comply with the privacy

policies and procedures of the covered entity or the requirements of 45 C.F.R. Part 164, Subparts

D or E. See 45 C.F.R. § 164.530(e).

          42.    HIPAA requires a covered entity or business associate to mitigate, to the extent

practicable, any harmful effect that is known to the covered entity of a use or disclosure of

protected health information in violation of its policies and procedures or the requirements of 45

C.F.R. Part 164, Subpart E by the covered entity or its business associate. See 45 C.F.R. §

164.530(f).

          43.    Under HIPAA:

                   Protected health information means individually identifiable health information:

                   (1) Except as provided in paragraph (2) of this definition, that is:

                   (i) Transmitted by electronic media;

                   (ii) Maintained in electronic media; or

                   (iii) Transmitted or maintained in any other form or medium.2

          44.    HIPAA and HITECH obligated Defendant to implement technical policies and

procedures for electronic information systems that maintain electronic protected health

information so that such systems were accessible only to those persons or software programs that

had been granted access rights and who have a working need to access and view the information.

See 45 C.F.R. § 164.312(a)(1); see also 42 U.S.C. §17902.



2
    45 C.F.R. § 160.103
                                                   8
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          45.     HIPAA and HITECH also obligated Defendant to implement policies and

procedures to prevent, detect, contain, and correct security violations, and to protect against uses

or disclosures of electronic protected health information that are reasonably anticipated but not

permitted by the privacy rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); see also 42

U.S.C. §17902.

          46.     HIPAA further obligated Defendant to ensure that their workforce complied with

HIPAA security standard rules (see 45 C.F.R. § 164.306(a)(4)) to effectively train its workforces

on the policies and procedures with respect to protected health information, as necessary and

appropriate for those individuals to carry out their functions and maintain the security of protected

health information. See 45 C.F.R. § 164.530(b)(1).

          47.     HIPAA also requires the Office of Civil Rights (“OCR”), within the Department of

Health and Human Services (“HHS”), to issue annual guidance documents on the provisions in

the HIPAA Security Rule. See 45 C.F.R. §§ 164.302-164.318. For example, “HHS has developed

guidance and tools to assist HIPAA covered entities in identifying and implementing the most cost

effective and appropriate administrative, physical, and technical safeguards to protect the

confidentiality, integrity, and availability of e-PHI and comply with the risk analysis requirements

of the Security Rule.” See US Department of Health & Human Services, Security Rule Guidance

Material.3 The list of resources includes a link to guidelines set by the National Institute of

Standards and Technology (NIST), which OCR says “represents the industry standard for good

business practices with respect to standards for securing e-PHI.” See US Department of Health &

Human Services, Guidance on Risk Analysis.4




3
    http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html
4
    https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-analysis/index.html
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           48.     Should a health care provider experience an unauthorized disclosure, it is required

 to conduct a Four Factor Risk Assessment (HIPAA Omnibus Rule). This standard requires, "A

 covered entity or business associate must now undertake a four-factor risk assessment to determine

 whether or not PHI has been compromised and overcome the presumption that the breach must be

 reported. The four-factor risk assessment focuses on:

                        (1) the nature and extent of the PHI involved in the incident (e.g., whether the

                        incident involved sensitive information like social security numbers or

                        infectious disease test results);

                        (2) the recipient of the PHI;

                        (3) whether the PHI was actually acquired or viewed; and

                        (4) the extent to which the risk that the PHI was compromised has been

                        mitigated following unauthorized disclosure (e.g., whether it was immediately

                        sequestered and destroyed)."5

           49.     The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, requires HIPAA

 covered entities and their business associates to provide notification following a breach of

 unsecured protected health information.

           50.     The HIPAA Contingency Operations Rule, 45 C.F.R. §164.301(a), requires a

 healthcare provider to have security measures in place and train its employees and staff so that all

 its staff and employees know their rolls in facility security.

           51.     Defendant failed to provide proper notice to Plaintiff and the Class Members of the

 disclosure.




 5
     78 Fed. Reg. 5641-46, See also, 45 C.F.R. §164.304
                                                        10
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          52.    Defendant failed to properly monitor its computer systems which hold Plaintiff’s

 and the Class Members’ PHI and PII for improper or unauthorized infiltration or disclosure.

          53.    Defendant failed to conduct or improperly conducted the four-factor risk

 assessment following the unauthorized disclosure.

          54.    As a direct and/or proximate result of Defendant’s wrongful actions and/or inaction

 and the resulting Breach, the criminal(s) and/or their customers now have Plaintiff’s and the other

 Class Members’ compromised PHI and PII.

          55.    As a direct and proximate result of the disclosure, Plaintiff has suffered identity

 theft.

          56.    There is a robust international market for the purloined PHI and PII, specifically

 medical information. Defendant’s wrongful actions and/or inaction and the resulting Breach have

 also placed Plaintiff and the other Classes at an imminent, immediate and continuing increased

 risk of identity theft, identity fraud6 and medical fraud.

          57.    Identity theft occurs when someone uses an individual’s PHI and PII, such as the

 person’s name, Social Security number, or credit card number, without the individual’s

 permission, to commit fraud or other crimes. See Federal Trade Commission, Fighting Back

 against Identity Theft, http://www.ftc.gov/bcp/edu/microsites/idtheft/consumers/ about-identity-

 theft.html (last visited Jan. 18, 2013). The Federal Trade Commission estimates that the identities

 of as many as nine million Americans are stolen each year. Id.

          58.    The Federal Trade Commission correctly sets forth that “Identity theft is serious.

 While some identity theft victims can resolve their problems quickly, others spend hundreds of


 6
   According to the United States Government Accounting Office (GAO), the terms “identity theft” or
 “identity fraud” are broad terms encompassing various types of criminal activities. Identity theft occurs
 when PII is used to commit fraud or other crimes. These crimes include, inter alia, credit card fraud, phone
 or utilities fraud, bank fraud and government fraud (theft of government services).
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 dollars and many days repairing damage to their good name and credit record. Some consumers

 victimized by identity theft may lose out on job opportunities, or be denied loans for education,

 housing or cars because of negative information on their credit reports. In rare cases, they may

 even be arrested for crimes they did not commit.” Id.

        59.     Identity theft crimes often involve more than just crimes of financial loss, such as

 various types of government fraud (such as obtaining a driver’s license or official identification

 card in the victim’s name but with their picture), using a victim’s name and Social Security number

 to obtain government benefits and/or filing a fraudulent tax return using a victim’s information.

 Identity thieves also obtain jobs using stolen Social Security numbers, rent houses and apartments

 and/or obtain medical services in a victim’s name. Identity thieves also have been known to give

 a victim’s PHI and PII to police during an arrest, resulting in the issuance of an arrest warrant in

 the victim’s name and an unwarranted criminal record.

        60.     According to the FTC, “the range of privacy-related harms is more expansive than

 economic or physical harm or unwarranted intrusions and that any privacy framework should

 recognize additional harms that might arise from unanticipated uses of data.”7 Furthermore, “there

 is significant evidence demonstrating that technological advances and the ability to combine

 disparate pieces of data can lead to identification of a consumer, computer or device even if the

 individual pieces of data do not constitute PII.”8

        61.     According to the Javelin Report, in 2011, the mean consumer cost of rectifying

 identity fraud was $354 while the mean resolution time of identity fraud was 12 hours. Id. at 6.


 7
    Protecting Consumer Privacy in an Era of Rapid Change FTC, Report March 2012
 (http://www.ftc.gov/os/2012/03/120326privacyreport.pdf).
 8
   Protecting Consumer Privacy in an Era of Rapid Change: A Proposed Framework for Businesses and
 Policymakers,     Preliminary   FTC     Staff    Report,     35-38     (Dec.  2010), available at
 http://www.ftc.gov/os/2010/12/101201privacyreport.pdf; Comment of Center for Democracy &
 Technology, cmt. #00469, at 3; Comment of Statz, Inc., cmt. #00377, at 11-12.
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 In 2011, the consumer cost for new account fraud and existing non‐card fraud increased 33% and

 50% respectively. Id. at 9. Consumers who received a Breach notification had a fraud incidence

 rate of 19% in 2011 and, of those experiencing fraud, 43% reported their credit card numbers were

 stolen and 22% of the victims reported their debit card numbers were stolen. Id. at 10. More

 important, consumers who were notified that their PHI and PII had been breached were 9.5 times

 more likely to experience identity fraud than consumers who did not receive such a notification.

 Id. at 39.

         62.     The unauthorized disclosure of a person’s Social Security number can be

 particularly damaging since Social Security numbers cannot be easily replaced like a credit card

 or debit card. In order to obtain a new Social Security number, a person must show evidence that

 someone is using the number fraudulently or is being disadvantaged by the misuse. See Identity

 Theft and Your Social Security Number, SSA Publication No. 05-10064, October 2007, ICN

 46327 (http://www.ssa.gov/pubs/10064.html). Thus, a person whose PHI and/or PII has been

 stolen cannot obtain a new Social Security number until the damage has already been done.

         63.     Obtaining a new Social Security number also is not an absolute prevention against

 identity theft. Government agencies, private businesses and credit reporting companies likely still

 have the person’s records under the old number, so using a new number will not guarantee a fresh

 start. For some victims of identity theft, a new number may actually create new problems; because

 prior positive credit information is not associated with the new Social Security number, it is more

 difficult to obtain credit due to the absence of a credit history.

         64.     Medical fraud (or medical identity theft) occurs when a person’s personal

 information is used without authorization to obtain, or receive payment for, medical treatment,

 services or goods. See www.ftc.gov/bcp/edu/microsites/idtheft/consumers/resolving-specific-id-



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 theft-problems.html. For example, as of 2010, more than 50 million people in the United States

 did not have health insurance according to the U.S. census. This, in turn, has led to a surge in

 medical identity theft as a means of fraudulently obtaining medical care. “Victims of medical

 identity theft [also] may find that their medical records are inaccurate, which can have a serious

 impact on their ability to obtain proper medical care and insurance benefits.” Id.

        65.     Defendant flagrantly disregarded and/or violated Plaintiff’s and the other Class

 Members’ privacy and property rights, and harmed them in the process, by not obtaining Plaintiff’s

 and the other Class Members’ prior written consent to disclose their PHI and PII to any other

 person—as required by laws, regulations, industry standards and/or internal company standards.

        66.     Defendant flagrantly disregarded and/or violated Plaintiff’s and the other Class

 Members’ privacy and property rights, and harmed them in the process, by failing to safeguard

 and protect and, in fact, wrongfully disseminating Plaintiff’s and the other Class Members’ PHI

 and PII to unauthorized persons.

        67.     Upon information and belief, Defendant flagrantly disregarded and/or violated

 Plaintiff’s and the other Class Members’ privacy and property rights, and harmed them in the

 process, by failing to keep or maintain an accurate accounting of the PHI and PII wrongfully

 disclosed in the Breach.

        68.     Defendant flagrantly disregarded and/or violated Plaintiff’s and the other Class

 Members’ privacy rights, and harmed them in the process, by failing to establish and/or implement

 appropriate administrative, technical and/or physical safeguards to ensure the security and

 confidentiality of Plaintiff’s and the other Class Members’ PHI and PII to protect against

 anticipated threats to the security or integrity of such information. Defendant’s unwillingness or

 inability to establish and maintain the proper information security procedures and controls is an



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 abuse of discretion and confirms its intentional and willful failure to observe procedures required

 by law, industry standards and/or their own internal policies and procedures.

         69.    The actual harm and adverse effects to Plaintiff and the other Class Members,

 including the imminent, immediate and continuing increased risk of harm for identity theft, identity

 fraud and/or medical fraud directly proximately caused by Defendant’s above wrongful actions

 and/or inaction and the resulting Breach requires Plaintiff and the other Class Members to take

 affirmative acts to recover their peace of mind, and personal security including, without limitation,

 purchasing credit reporting services, purchasing credit monitoring and/or internet monitoring

 services, frequently obtaining, purchasing and reviewing credit reports, bank statements, and other

 similar information, instituting and/or removing credit freezes and/or closing or modifying

 financial accounts—for which there is a financial and temporal cost. Plaintiff and the other Class

 Members have suffered, and will continue to suffer, such damages for the foreseeable future.

         70.    Victims and potential victims of identity theft, identity fraud and/or medical

 fraud—such as Plaintiff and the other Class Members—typically spend hundreds of hours in

 personal time and hundreds of dollars in personal funds to resolve credit and other financial issues

 resulting     from     Breaches.      See     Defend:      Recover      from      Identity     Theft,

 http://www.ftc.gov/bcp/edu/microsites/idtheft//consumers/defend.html;       Fight Identity Theft,

 www.fightidentitytheft.com. According to the Javelin Report, not only is there a substantially

 increased risk of identity theft and identity fraud for Breach victims, those who are further

 victimized by identity theft or identity fraud will incur an average fraud-related economic loss of

 $1,513 and incur an average of $354 of out-of-pocket expenses attempting to rectify the situation.

 Id. at 6.




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        71.     Other statistical analyses are in accord. The GAO found that identity thieves use

 PHI and PII to open financial accounts and payment card accounts and incur charges in a victim’s

 name. This type of identity theft is the “most damaging” because it may take some time for the

 victim to become aware of the theft, in the meantime causing significant harm to the victim’s credit

 rating and finances. Moreover, unlike other PHI and PII, Social Security numbers are incredibly

 difficult to change and their misuse can continue for years into the future. The GAO states that

 victims of identity theft face “substantial costs and inconvenience repairing damage to their credit

 records,” as well the damage to their “good name.”

        72.     Defendant’s wrongful actions and/or inaction directly and/or proximately caused

 the theft and dissemination into the public domain of Plaintiff’s and the other Class Members’ PHI

 and PII without their knowledge, authorization and/or consent. As a direct and/or proximate result

 of Defendant’s wrongful actions and/or inaction and the resulting Breach, Plaintiff and the other

 Class Members have incurred (and will continue to incur) damages in the form of, inter alia, (i)

 loss of privacy, (ii) identity theft, (iii) the imminent, immediate and continuing increased risk of

 identity theft, identity fraud and/or medical fraud, (iv) out-of-pocket expenses to purchase credit

 monitoring, internet monitoring, identity theft insurance and/or other Breach risk mitigation

 products, (v) out-of-pocket expenses incurred to mitigate the increased risk of identity theft,

 identity fraud and/or medical fraud pressed upon them by the Breach, including the costs of placing

 a credit freeze and subsequently removing a credit freeze, (vi) the value of their time spent

 mitigating the increased risk of identity theft, identity fraud and/or medical fraud pressed upon

 them by the Breach and (vii) the lost benefit of their bargain when they paid for their privacy to be

 protected and it was not.

                                CLASS ACTION ALLEGATIONS



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        80.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings

 this action on behalf of herself and the following proposed Nationwide Class and State

 Subclasses, defined as follows:

        81. Plaintiff brings this class action as a class action on behalf of herself and the following

 classes:

        All persons residing in the United States who were customers of Defendant
        Apria since April 5, 2014 and whose PHI and/or PII was disclosed by
        Defendant to unauthorized third-parties.


        All persons residing in the United States who were residents of Missouri
        who were patients of customers of Defendant Apria since April 5, 2014 and
        whose PHI and/or PII was disclosed by Defendant to unauthorized third-
        parties (the “Missouri Class”).


       82.     Excluded from the Classes are the following individuals and/or entities:

 Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity

 in which Defendant has a controlling interest; all individuals who make a timely election to be

 excluded from this proceeding using the correct protocol for opting out; and all judges assigned

 to hear any aspect of this litigation, as well as their immediate family members.

        83.     Plaintiff reserves the right to modify or amend the definition of the proposed

 Class before the Court determines whether certification is appropriate.

        84.     Numerosity: On information and belief, the putative Classes are comprised of tens

 of thousands of individuals making joinder impracticable. Disposition of this matter as a class

 action will provide substantial benefits and efficiencies to the Parties and the Court.

        85.     Commonality and Predominance: The rights of Plaintiff and each other Class

 Members were violated in a virtually identical manner as a direct and/or proximate result of

 Defendant’s willful, reckless and/or negligent actions and/or inaction and the resulting Breach.


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 Questions of law and fact common to all Class Members exist and predominate over any questions

 affecting only individual Class Members including, inter alia:


                a)      Whether Defendant willfully, recklessly and/or negligently failed to
                        maintain and/or execute reasonable procedures designed to prevent
                        unauthorized access to Plaintiff’s and the other Class Members’ PHI
                        and/or PII;

                b)      Whether Defendant was negligent in failing to properly safeguard
                        and protect Plaintiff’s and the other Class Members’ PHI and/or PII;

                c)      Whether Defendant owed a duty to Plaintiff and the other Class
                        Members to exercise reasonable care in safeguarding and protecting
                        their PHI and/or PII;

                d)      Whether Defendant breached their duty to exercise reasonable care
                        in failing to safeguard and protect Plaintiff’s and the other Class
                        Members’ PHI and/or PII;

                e)      Whether Defendant was negligent in failing to safeguard and protect
                        Plaintiff’s and the other Class Members’ PHI and/or PII;

                f)      Whether, by publicly disclosing Plaintiff’s and the other Class
                        Members’ PHI and/or PII without authorization, Defendant invaded
                        their privacy; and

                g)      Whether Plaintiff and the other Class Members sustained damages
                        as a result of Defendant’s failure to safeguard and protect their PHI
                        and/or PII.

        86.     Adequacy: Plaintiff and her counsel will fairly and adequately represent the

 interests of the other Class Members. Plaintiff has no interests antagonistic to, or in conflict with,

 the other Class Members’ interests. Plaintiff’s lawyers are highly experienced in the prosecution

 of consumer class action and Breach cases.

        87.     Typicality: Plaintiff’s claims are typical of the other Class Members’ claims in that

 Plaintiff’s claims and the other Class Members’ claims all arise from Defendant’s failure to

 properly safeguard and protect their PHI and PII.



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        88.     Superiority and Manageability: A class action is superior to all other available

 methods for fairly and efficiently adjudicating Plaintiff’s and the other Class Members’ claims.

 Plaintiff and the other Class Members have been harmed as a result of Defendant’s wrongful

 actions and/or inaction and the resulting Breach. Litigating this case as a class action will reduce

 the possibility of repetitious litigation relating to Defendant’s conduct.

        89.     Class certification, therefore, is appropriate pursuant to Civ.P.Rule 23 because the

 above common questions of law or fact predominate over any questions affecting individual Class

 Members, and a class action is superior to other available methods for the fair and efficient

 adjudication of this controversy.

        90.     Policies Generally Applicable to the Case: Class certification also is appropriate

 pursuant to Civ.P.Rule 23 because Defendant has acted or refused to act on grounds generally

 applicable to the Class, so that final injunctive relief or corresponding declaratory relief is

 appropriate as to the Class as a whole.

        91.     The expense and burden of litigation would substantially impair the ability of Class

 Members to pursue individual lawsuits in order to vindicate their rights. Absent a class action,

 Defendant will retain the benefits of its wrongdoing despite its serious violations of the law.

        92.     The litigation of the claims brought herein is manageable. Defendant’s uniform

 conduct, the consistent provisions of the relevant laws, and the ascertainable identities of

 Class Members demonstrates that there would be no significant manageability problems with

 prosecuting this lawsuit as a class action.

        93.     Adequate notice can be given to Class Members directly using information

 maintained in Defendant’s records.




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        94.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to

 properly secure the Private Information of Class Members, Defendant may continue to refuse to

 provide proper notification to Class Members regarding the Breach, and Defendant may continue

 to act unlawfully as set forth in this Complaint.

                                        COUNT I
                              BREACH OF IMPLIED CONTRACT

        95.     The preceding factual statements and allegations in Paragraphs 1-94 are

 incorporated herein by reference.

        96.     Plaintiff and the other Class Members, as part of their agreement with Defendant

 Apria, provided Defendant their PHI and PII.

        97.     In providing such PHI and PII, Plaintiff and the other Class Members entered into

 an implied contract with Defendant, whereby Defendant became obligated to reasonably safeguard

 Plaintiff’s and the other Class members’ PHI and PII.

        98.     Under the implied contract, Defendant was obligated to not only safeguard the PHI

 and PII, but also to provide Plaintiff and Class Members with prompt, adequate notice of any

 Breach or unauthorized access of said information.

        99.     Defendant breached the implied contract with Plaintiff and the other Class

 Members by failing to take reasonable measures to safeguard their PHI and PII.

        100.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

 and the disclosure of Plaintiff’s and the other Class Members’ confidential medical information,

 Plaintiff and the members of the Class suffered damages, including, without limitation, loss of the

 benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

 confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

        101.    Plaintiff and the other Class Members suffered and will continue to suffer damages

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 including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

 improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

 to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

 Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

 increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

 (vii) emotional distress. At the very least, Plaintiff and Class members are entitled to nominal

 damages.

                                              COUNT II
                                            NEGLIGENCE

        102.    The preceding factual statements and allegations in Paragraphs 1-101 are

 incorporated herein by reference.

        103.    Plaintiff brings this Count on their own behalf and on behalf of the Class.

        104.    Defendant owed, and continues to owe, a duty to Plaintiff and the Classes to

 safeguard and protect their PHI and PII.

        105.    Defendant breached its duty by failing to exercise reasonable care and failing to

 safeguard and protect Plaintiff’s and the other Class Members’ PHI and PII.

        106.    It was reasonably foreseeable that Defendant’s failure to exercise reasonable care

 in safeguarding and protecting Plaintiff’s and the other Class Members’ PHI and PII would result

 in an unauthorized third-party gaining access to such information for no lawful purpose.

        107.    Plaintiff and the Classes entrusted their PII and PHI to Defendant on the premise

 and with the understanding that Defendant would safeguard their information, use their PII and

 PHI for business purposes only, and/or not disclose their PII and PHI to unauthorized third-parties.




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        108.    Defendant has full knowledge of the sensitivity of the PII and PHI and the types of

 harm that Plaintiff and the Classes could and would suffer if the PII and PHI were wrongfully

 disclosed.

        109.    Defendant knew or reasonably should have known that the failure to exercise due

 care in the collecting, storing, and using of the PII and PHI of Plaintiff and the Classes involved an

 unreasonable risk of harm to Plaintiff and the Classes, even if the harm occurred through the

 criminal acts of a third-party.

        110.    Defendant had a duty to exercise reasonable care in safeguarding, securing, and

 protecting such information from being compromised, lost, stolen, misused, and/or disclosed

 to unauthorized parties. This duty includes, among other things, designing, maintaining, and testing

 Defendant’s security protocols to ensure that the PII and PHI of Plaintiff and the Classes in

 Defendant’s possession was adequately secured and protected.

        111.    Defendant also had a duty to exercise appropriate clearinghouse practices to

 remove former patients’, employees’, and physicians’ PII and PHI that Defendant was no longer

 required to retain pursuant to regulations.

        112.    Defendant also had a duty to have procedures in place to detect and prevent the

 improper access and misuse of the PII and PHI of Plaintiff and the Classes.

        113.    Defendant’s duty to use reasonable security measures arose as a result of the

 contractual relationship that existed between Defendant and Plaintiff and the Classes.

        114.    Defendant was also subject to an “independent duty,” untethered to any contract

 between Defendant and Plaintiff or the Classes.




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         115.   A breach of security, unauthorized access, and resulting injury to Plaintiff and the

 Classes was reasonably foreseeable, particularly in light of Defendant’s inadequate security

 practices.

         116.   Plaintiff and the Classes were the foreseeable and probable victims of any

 inadequate security practices and procedures. Defendant knew or should have known of the

 inherent risks in collecting and storing the PII and PHI of Plaintiff and the Class, the critical

 importance of providing adequate security of that information, and the necessity for encrypting or

 redacting PII and PHI stored on Defendant’s systems.

         117.   Defendant’s own conduct created a foreseeable risk of harm to Plaintiff and the

 Classes.

         118.   Defendant’s misconduct included, but was not limited to, its failure to take the steps

 and opportunities to prevent the Breach as set forth herein. Defendant’s misconduct also included

 its decisions to not comply with industry standards for the safekeeping of the PII and PHI of

 Plaintiff and the Classes, including basic encryption techniques freely available to Defendant.

         119.   Plaintiff and the Classes had no ability to protect their PII and PHI that was in,

 and possibly remains in, Defendant’s possession.

         120.   Defendant was in a position to protect against the harm suffered by Plaintiff and the

 Classes as a result of the Breach. Defendant had and continue to have a duty to adequately disclose

 that the PII and PHI of Plaintiff and the Classes within Defendant’s possession might have been

 compromised, how it was compromised, and precisely the types of data that were compromised

 and when. Such notice was necessary to allow Plaintiff and the Classes to take steps to prevent,

 mitigate, and repair any identity theft and the fraudulent use of their PII and PHI by third-parties.




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          121.   Defendant had     a duty     to employ proper procedures           to   prevent   the

 unauthorized dissemination of the PII and PHI of Plaintiff and the Classes.

          122.   Defendant has admitted that the PII and PHI of Plaintiff and the Classes was

 wrongfully lost and disclosed to unauthorized third-persons as a result of the Breach.

          123.   Defendant, through its actions and/or omissions, unlawfully breached its

 duties to Plaintiff and the Classes by failing to implement industry standard protocols and

 exercise reasonable care in protecting and safeguarding the PII and PHI of Plaintiff and the Classes

 during the time the PII and PHI was within Defendant’s possession or control.

          124.   Defendant improperly and inadequately safeguarded the PII and PHI of Plaintiff

 and the Classes in deviation of standard industry rules, regulations, and practices at the time of the

 Breach.

          125.   Defendant failed to heed industry warnings and alerts to provide adequate

 safeguards to protect the PII and PHI of Plaintiff and the Classes in the face of increased risk of

 theft.

          126.   Defendant, through its actions and/or omissions, unlawfully breached its duty to

 Plaintiff and the Classes by failing to have appropriate procedures in place to detect and prevent

 dissemination of its current and former patients’, employees’, and physicians’ PII and PHI.

          127.   Defendant, through its actions and/or omissions, unlawfully breached its duty

 to adequately and timely disclose to Plaintiff and the Classes the existence and scope of the Breach.

          128.   As a direct result of Defendant’s breach of its duty of confidentiality and privacy

 and the disclosure of Plaintiff’s and the member of the Classes confidential medical information,

 Plaintiff and the members of the Classes suffered damages, including, without limitation, loss of




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 the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

 confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

        129.    Plaintiff and the other Classes suffered and will continue to suffer damages

 including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

 improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

 to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

 Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

 increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

 (vii) emotional distress. At the very least, Plaintiff and the other Classes are entitled to nominal

 damages.

        130.    Defendant’s wrongful actions and/or inaction and the resulting Breach (as

 described above) constituted (and continue to constitute) negligence at common law. Additionally,

 Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,” including,

 as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

 Defendants, of failing to use reasonable measures to protect PII. The FTC publications and orders

 described above also form part of the basis of Defendant’s duty in this regard. Defendant violated

 Section 5 of the FTC Act by failing to use reasonable measures to protect PII and not

 complying with applicable industry standards, as described in detail herein.

        131.    Defendant’s conduct was particularly unreasonable given the nature and amount of

 PHI and PII it obtained and stored and the foreseeable consequences of the immense damages that

 would result to Plaintiff and the Classes.




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        132.     Defendant’s violation of Section 5 of the FTC Act and Title II of HIPAA,

 including HIPAA regulations HHS has implemented pursuant to Title II, as well as the

 standards of conduct established by these statutes and regulations, constitutes negligence per se.

        133.     Plaintiff and the Classes are within the class of persons that the FTC Act was

 intended to protect.

        134.     The harm that occurred as a result of the Breach is the type of harm the FTC Act and

 HIPAA were intended to guard against. The FTC has pursued enforcement actions against

 businesses, which, as a result of its failure to employ reasonable data security measures and

 avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiff and the

 Classes.

        135.     As a direct and proximate result of Defendant’s negligence and negligence per

 se, Plaintiff and the Classes have suffered and will suffer injury, including but not limited to:

               a) actual identity theft;

               b) a ct u al m edi c al f r au d;

               c) the loss of the opportunity of how their PII and PHI is used;

               d) the compromise, publication, and/or theft of their PII and PHI;

               e) out-of-pocket expenses associated with the prevention, detection, and recovery

                   from identity theft, tax fraud, and/or unauthorized use of their PII and PHI;

               f) lost opportunity costs associated with effort expended and the loss of

                   productivity addressing and attempting to mitigate the actual present and future

                   consequences of the Breach, including but not limited to efforts spent researching

                   how to prevent, detect, contest, and recover from tax fraud and identity theft;




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               g) costs associated with placing freezes on credit reports; (vii) the continued risk to

                  their PII and PHI, which remain in Defendant’s possession and is subject to

                  further unauthorized disclosures so long as Defendant fails to undertake

                  appropriate and adequate measures to protect the PII and PHI of Plaintiff and the

                  Classes; and

               h) costs in terms of time, effort, and money that will be expended to prevent,

                  detect, contest, and repair the impact of the PII and PHI compromised as a result

                  of the Breach for the remainder of the lives of Plaintiff and the Classes.

        136.    As a direct and proximate result of Defendant’s negligence and negligence per se,

 Plaintiff and the Classes have suffered and will continue to suffer other forms of injury and/or

 harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

 economic and non-economic losses.

        137.    Additionally, as a direct and proximate result of Defendant’s negligence and

 negligence per se, Plaintiff and the Classes have suffered and will suffer the continued risks of

 exposure of their PII and PHI, which remain in Defendant’s possession and is subject to further

 unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

 measures to protect the PII and PHI in its continued possession.

      138.      Plaintiff and the Classes are therefore entitled to damages, including actual and

 compensatory damages, restitution, declaratory and injunctive relief, and attorney fees, costs, and

 expenses.

                                COUNT III
       INVASION OF PRIVACY BY PUBLIC DISCLOSURE OF PRIVATE FACTS




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        139.     The preceding factual statements and allegations in Paragraphs 1-138 are

 incorporated herein by reference.

        140.     Plaintiff’s and the other Classes’ PHI and PII was (and continues to be) sensitive

 and personal private information.

        141.     By virtue of Defendant’s failure to safeguard and protect Plaintiff’s and the other

 Classes’ PHI and PII and the resulting Breach, Defendant wrongfully disseminated Plaintiff’s and

 the other Class Members’ PHI and PII to unauthorized persons.

        142.     Dissemination of Plaintiff’s and the other Classes’ PHI and PII is not of a legitimate

 public concern; publicity of their PHI and PII was, is and will continue to be offensive to Plaintiff,

 the other Class Members and all reasonable people. The unlawful disclosure of same violates

 public mores.

        143.     As a direct result of Defendant’s breach of its duty of confidentiality and privacy

 and the disclosure of Plaintiff’s and the member of the Classes confidential medical information,

 Plaintiff and the members of the Classes suffered damages, including, without limitation, loss of

 the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

 confidentiality, embarrassment, emotional distress, humiliation, and loss of enjoyment of life.

        144.     Plaintiff and the other Classes’ members suffered and will continue to suffer

 damages including, but not limited to: (i) the untimely and/or inadequate notification of the

 Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

 expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

 them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

 and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity




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 theft; and, (vii) emotional distress. At the very least, Plaintiff and the other Classes’ Members are

 entitled to nominal damages.

        145.    Defendant’s wrongful actions and/or inaction and the resulting Breach (as

 described above) constituted (and continue to constitute) an invasion of Plaintiff’s and the other

 Classes’ Members’ privacy by publicly and wrongfully disclosing their private facts (i.e., their

 PHI and PII) without their authorization or consent.

                                  COUNT IV
                 BREACH OF FIDUCIARY DUTY OF CONFIDENTIALITY

       146.     The preceding factual statements and allegations in Paragraphs 1-145 are

 incorporated herein by reference.

       147.     At all times relevant hereto, Defendant owed, and owes, a fiduciary duty to Plaintiff

 and the proposed class pursuant to South Carolina common law, to keep Plaintiff’s medical and

 other PHI and PII information confidential.

        148.    The fiduciary duty of privacy imposed by Indiana law is explicated under the

 procedures set forth in the Health Insurance Portability and Accountability Act Privacy Rule,

 including, without limitation the procedures and definitions of 45 C.F.R. §160.103 and 45 C.F.R.

 §164.530 which requires a covered entity or business associate to apply appropriate administrative,

 technical, and physical safeguards to protect the privacy of patient medical records.

        149.    Defendant breached its fiduciary duty to Plaintiff by disclosing Plaintiff and the

 other Classes’ Members PHI and PII to unauthorized third-parties.

        150.    As a direct result of Defendant’s breach of fiduciary duty of confidentiality and the

 disclosure of Plaintiff’s confidential medical information, Plaintiff and the proposed Classes’

 Members suffered damages.




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        151.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

 and the disclosure of Plaintiff’s and the member of the Classes confidential medical information,

 Plaintiff and the members of the Classes suffered damages, including, without limitation, loss of

 the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

 confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

        152.    Plaintiff and the other Classes’ Members suffered and will continue to suffer

 damages including, but not limited to: (i) the untimely and/or inadequate notification of the

 Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

 expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

 them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

 and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity

 theft; and, (vii) emotional distress. At the very least, Plaintiff and the other Classes’ Members are

 entitled to nominal damages

                                     COUNT V
                        NEGLIGENT TRAINING AND SUPERVISION

        153.    The preceding factual statements and allegations in Paragraphs 1-152 are

 incorporated herein by reference.

        154.    At all times relevant hereto, Defendant owed and owe a duty to Plaintiff and the

 Classes to hire competent employees and agents, and to train and supervise them to ensure they

 recognize the duties owed to their patients.

        155.    Defendant breached its duty to Plaintiff and the member of the Classes by allowing

 its employees and agents to give access to patient medical records to an unauthorized user.

        156.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

 and the disclosure of Plaintiff’s and the member of the Classes confidential medical information,

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 Plaintiff and the members of the Classes suffered damages, including, without limitation, loss of

 the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

 confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

        157.    Plaintiff and the other Classes members suffered and will continue to suffer

 damages including, but not limited to: (i) the untimely and/or inadequate notification of the

 Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

 expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

 them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

 and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity

 theft; and, (vii) emotional distress. At the very least, Plaintiff and the other Classes’ Members are

 entitled to nominal damages.

        158.    Defendant’s wrongful actions and/or inaction and the resulting Breach (as

 described above) constituted (and continue to constitute) an invasion of Plaintiff’s and the other

 Classes’ Members’ privacy by publicly and wrongfully disclosing their private facts (i.e., their

 PHI and PII) without their authorization or consent.


                                          COUNT VI
                                      NEGLIGENCE PER SE

        159.    The preceding factual statements and allegations in Paragraphs 1-158 are

 incorporated herein by reference. Plaintiff was under the medical care of the Defendants.

        160.    Defendant Apria is a covered entity for purposes of HIPAA and HITECH.

        161.    Plaintiff is a member of the class HIPAA and HITECH were created to protect.




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           162.   Plaintiff’s private health information is the type of information HIPAA and

 HITECH were created to protect. HIPAA and HITECH were created to protect against the

 wrongful and unauthorized disclosure of an individual's health information.

           163.   Defendant gave protected medical information to an unauthorized third-party or

 unauthorized third-parties without the written consent or authorization of Plaintiff.

           164.   The information disclosed to an unauthorized third-party or unauthorized third-

 parties included private health information about medical treatment.

           165.   Alternatively, Defendant violated HIPAA and HITECH in that they did not

 reasonably safeguard the private health information of Plaintiff from any intentional or

 unintentional use or disclosure that is in violation of the standards, implementation specifications

 or other requirements pursuant to HIPAA and HITECH including, but not limited to, 42 C.F.R. §§

 164.302-164.318, 45 C.F.R. § 164.500, et seq, and 42 U.S.C. §17902, and was therefore negligent

 per se.

           166.   As a direct result of Defendant’s negligence, Plaintiff and the Classes suffered

 damages and injuries, including, without limitation, loss of the benefit of their bargain, a reduction

 in value of their private health information, loss of privacy, loss of medical expenses, loss of trust,

 loss of confidentiality, embarrassment, humiliation, emotional distress, and loss of enjoyment of

 life.

           167.   Plaintiff and the other Classes suffered and will continue to suffer damages

 including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

 improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

 to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

 Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the



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 increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

 (vii) emotional distress. At the very least, Plaintiff and the other Classes are entitled to nominal

 damages.

            168.   As a direct result of Defendant’s negligence, Plaintiff and the Classes have a

 significantly increased risk of being future victims of identity theft relative to what would be the

 case in the absence of the Defendant’s wrongful acts.

            169.   As a direct result of Defendant’s negligence, future monitoring, in the form of

 identity-theft or related identity protection is necessary in order to properly warn Plaintiff and the

 Classes of, and/or protect Plaintiff and the Classes from, being a victim of identity theft or other

 identity-related crimes. Plaintiff, individually and on behalf of the Classes, seeks actual damages

 for all monies paid to Defendant in violation of the HIPAA and HITECH. In addition, Plaintiff

 seeks attorneys’ fees.

                                           COUNT VII
                                      INVASION OF PRIVACY

            170.   The preceding factual statements and allegations in Paragraphs 1-169 are

 incorporated herein by reference.

            171.   . Plaintiff brings this Count on her behalf and on behalf of the Classes.

            172.   Plaintiff and the Classes had a legitimate expectation of privacy to their PII and

 PHI and were entitled to the protection of this information against disclosure to unauthorized third

 parties.

            173.   Defendant owed a duty to i t s current and former customers including Plaintiff

 and the Class, to keep their Private Information contained as a part thereof, confidential.

            174.   Defendant failed to protect and released to unknown and unauthorized third parties

 the PII and PHI of Plaintiff and the Class.


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           175.   Defendant allowed unauthorized and unknown third parties access to and

 examination of the Private Information of Plaintiff and the Class, by way of Defendant’s failure

 to protect the PII and PHI.

           176.   The unauthorized release to, custody of, and examination by unauthorized third

 parties of the Private Information of Plaintiff and the Classes is highly offensive to a reasonable

 person.

           177.   The intrusion was into a place or thing, which was private and is entitled to be

 private. Plaintiff and the Classes disclosed their Private Information to Defendant as part of their

 medical care or employment with Defendants, but privately with an intention that the Private

 Information would be kept confidential and would be protected from unauthorized disclosure.

 Plaintiff and the Classes were reasonable in their belief that such information would be kept

 private and would not be disclosed without their authorization.

           178.   The Breach at the hands of Defendant constitutes an intentional interference with

 Plaintiff’s and the Class’s interest in solitude or seclusion, either as to their persons or as to their

 private affairs or concerns, of a kind that would be highly offensive to a reasonable person.

           179.   Defendant acted with a knowing state of mind when they permitted the Breach to

 occur because they were with actual knowledge that its information security practices were

 inadequate and insufficient.

           180.   Because Defendant acted with this knowing state of mind, they had notice and

 knew the inadequate and insufficient information security practices would cause injury and harm

 to Plaintiff and the Class.




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           181.   As a proximate result of the above acts and omissions of Defendants, the

 Private Information of Plaintiff and the Classes was disclosed to third parties without

 authorization, causing Plaintiff and the Classes to suffer damages.

           182.   Unless and until enjoined, and restrained by order of this Court, Defendant’s

 wrongful conduct will continue to cause great and irreparable injury to Plaintiff and the Classes in

 that the PII and PHI maintained by Defendant can be viewed, distributed, and used by unauthorized

 persons for years to come. Plaintiff and the Classes have no adequate remedy at law for the

 injuries in that a judgment for monetary damages will not end the invasion of privacy for Plaintiff

 and the Class.

                         COUNT VIII
 VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT, MO. REV.
                      STAT. § 407.010 et seq.

                          (Applicable to the Missouri Subclass Only)

    183.            The preceding factual statements and allegations in Paragraphs 1-182 are

 incorporated herein by reference.

    184.           RSMo. §407.020 prohibits the use of any “deception, fraud, false pretense,

 false promise, misrepresentation, unfair practice or the concealment, suppression, or omission

 of any material fact in connection with the sale or advertisement of any merchandise in

 trade or commerce…”

    185.           An “unfair practice” is defined by Missouri law, 15 CSR 60-8.020, as any

 practice which:

      (A) Either-

            1. Offends any public policy as it has been established by the Constitution, statutes
            or common law of this state, or by the Federal Trade Commission, or its interpretive
            decisions; or


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            2. Is unethical, oppressive or unscrupulous; and


      (B) Presents a risk of, or causes, substantial injury to consumers.


           136.     An “unfair practice is defined by Missouri law,


           15 CSR 60-8.020 (1)(B) provides that an “Unfair Practice in General” is

      (1) An unfair practice is any practice which –


            (A) Either –


                  1. Offends any public policy as it has been established by the Constitution, statutes
                     or


                             common law of this state, or by the Federal Trade Commission, or its

                     interpretive decisions; or

                  2. Is unethical, oppressive or unscrupulous; and


            (B) Presents a risk of, or causes, substantial injury to consumers.


           15CSR 60-8.040 provides that an “Unfair Practice is:

           An unfair practice for any person in connection with the advertisement or sale of

 merchandise to violate the duty of good faith in solicitation, negotiation and performance, or in any

 manner fail to act in good faith.

    186. Plaintiff and Defendant is a “person” within the meaning of Section 407.010 (5).

    187. Merchandise is defined by the MMPA, to include the providing of “services” and,

 therefore, encompasses healthcare services. Healthcare services are a good.

    188.             Efforts to maintain the privacy and confidentiality of medical records are part of


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 the healthcare services associated with a good.

    189.           Maintenance of medical records are “merchandise” within the meaning of Section

 407.010(4).

           190. Plaintiff’s goods and services purchased from Defendants were for “personal, family

 or household purposes” within the meaning of the Missouri Merchandising Practices Missouri

 Revised Statutes.

           191.   As set forth herein, Defendant’s acts, practices and conduct violate Section

 407.010(1) in that, among other things, Defendant has used and/or continue to use unfair practices,

 concealment, suppression and/or omission of material facts in connection with the advertising,

 marketing, and offering for sale of services associated with healthcare services. Such acts offend

 the public policy established by Missouri statute and constitute an “unfair practice” as that term is

 used in Missouri Revised Statute 407.020(1).

           192. Defendant’s unfair, unlawful, and deceptive acts, practices and conduct include: (1)

 representing to its patients that it will not disclose their sensitive personal health information to an

 unauthorized third party or parties; (2) failing to implement security measures such as securing the

 records in a safe place; (3) failing to train personnel; and (4) charging patients for privacy services

 which were not provided.

           193. Defendant’s conduct also violates the enabling regulations for the MMPA because it:

 (1) offends public policy; (2) is unethical, oppressive and unscrupulous; (3) causes substantial

 injury to consumers; (4) it is not in good faith; (5) is unconscionable; and (6) is unlawful. See Mo

 Code Regs. Ann tit. 15, Section 60-8.

           137.   As a direct and proximate cause of Defendants’ unfair and deceptive acts, Plaintiff


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 and the Class suffered damages in that they (1) paid more for medical record privacy protections

 than he otherwise would have, and (2) paid for medical record privacy protections that they did not

 receive. In this respect, Plaintiff has not received the benefit of the bargain and has suffered an

 ascertainable loss.

        193. Plaintiff and the Class seeks actual damages for all monies paid to Defendants in

 violation of the MMPA. In addition, Plaintiff and the Class seeks attorneys’ fees and costs.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the other members of the Classes

 proposed in this Complaint, respectfully requests that the Court enter judgment in their favor and

 against Defendant, as follows:

        A.      Declaring that this action is a proper class action, certifying the Classes as requested
                herein, designating Plaintiff as Class Representative and appointing Plaintiff’s
                counsel as Lead Counsel for the Classes;

        B.      Declaring that Defendant’s conduct was extreme and outrageous;

        C.      Declaring that Defendant breached its implied contract with Plaintiff and Classes;

        D.      Declaring that Defendant negligently disclosed Plaintiff’s and the Classes’
                Members’ PHI and PII;

        E.      Declaring that Defendant has invaded Plaintiff’s and Classes’ Members’ privacy;

        F.      Declaring that Defendant breached its fiduciary duty to Plaintiff and the Classes;

        G.      Declaring that Defendant breached its implied contract with Plaintiff and the
                Classes;

        H.      Declaring that Defendant was negligent by negligently training and supervising its
                employees and agents;


        I.      Declaring that Defendant violated the MMPA;

        J.      Ordering Defendant to pay actual damages to Plaintiff and the Classes;


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       K.    Ordering Defendant to properly disseminate individualized notice of the Breach to
             all Classes;

       L.    For an Order enjoining Defendant from continuing to engage in the unlawful
             business practices alleged herein;

       M.    Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiff and the
             Classes;

       N.    Ordering Defendant to pay both pre- and post-judgment interest on any amounts
             awarded; and

       O.    Ordering such other and further relief as may be just and proper.

                               DEMAND FOR JURY TRIAL

             Plaintiff demands a jury trial in this matter.

             This 6th day of July, 2023.            Respectfully submitted,

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                                                    *pro hac vice admission to be filed

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